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   1    CENTER FOR DISABILITY ACCESS
        Dennis Price, Esq., SBN 279082
   2    Amanda Seabock, Esq., SBN 289900
        8033 Linda Vista Road, Suite 200
   3    San Diego, CA 92111
   4    (858) 375-7385; (888) 422-5191 fax
        AmandaS@potterhandy.com
   5    Attorneys for Plaintiff
   6
   7                           UNITED STATES DISTRICT COURT
   8                          CENTRAL DISTRICT OF CALIFORNIA

   9
        CHRIS LANGER,                                     Case: 2:21-cv-08263-MWF-JDE
 10
                 Plaintiff,                               Plaintiff’s Notice of Voluntary
 11
          v.                                              Dismissal With Prejudice
 12                                                       Fed. R. Civ. P. 41(a)(1)(A)(i)
        SG FINE ART SERVICES, INC., a
 13     California Corporation, dba
        SULLIVAN GOSS,
 14
                 Defendants.
 15
 16            PLEASE TAKE NOTICE that Plaintiff Chris Langer, hereby
 17    voluntarily dismisses the above captioned action with prejudice pursuant to
 18    Federal Rule of Civil Procedure 41(a)(1)(A)(i).
 19            Defendant SG FINE ART SERVICES, INC., a California Corporation,
 20    dba SULLIVAN GOSS has neither answered Plaintiff’s Complaint, nor filed a
 21    motion for summary judgment. Accordingly, this matter may be dismissed
 22    without an Order of the Court.
 23    Dated: March 8, 2022                   CENTER FOR DISABILITY ACCESS
 24
 25                                           By: /s/ Amanda Seabock
 26
                                              Amanda Seabock
                                              Attorney for Plaintiff
 27
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                     Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                  Federal Rule of Civil Procedure 41(a)(1)(A)(i)
